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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CARLOS APPLEBY                                §
                                              §
              Plaintiff,                      §
                                              §
v.                                            §         CIVIL ACTION NO. 3:17-CV-00673-E
                                              §
HOME DEPOT U.S.A., INC. d/b/a                 §
HOME DEPOT,                                   §
                                              §
              Defendant.                      §

                                           ORDER

        A jury verdict was entered, and the trial completed, in this case on February 12,

2020 (Doc. No. 111).       The Court ORDERS the parties to jointly submit a proposed final

judgment within fourteen days of the date of this Order.         While the Court awaits the

parties’ proposed final judgment, the Clerk of Court is directed to administratively close

this case.

        SO ORDERED.

        SIGNED March 3, 2020.



                                                  _______________________________________
                                                  ADA BROWN
                                                  UNITED STATES DISTRICT JUDGE
